Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 1 of 12



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,           §
                                       §
               Plaintiff,              §
                                       §
   v.                                  § Case No 11-80205-CR-MARRA
                                       §
   MITCHELL J. STEIN,                  §
                                       §
               Defendant.              §
   _____________________________________

                   UNITED STATES’ OPPOSITION TO THE DEFENDANT’S
                       SUPPLEMENTAL MEMORANDUM (D.E. 529)

          In May 2013, the Defendant was convicted by a unanimous jury of wire fraud, mail fraud,

   securities fraud, and money laundering for his role in a scheme to defraud investors and loot from

   Signalife. The Defendant’s convictions were affirmed on appeal. United States v. Stein, 846 F.3d

   1135 (11th Cir. 2017). In his recent filing, the Defendant has once again attempted to relitigate

   issues already decided by this Court, the jury, and the Eleventh Circuit, arguing that “newly

   discovered” testimony of Thomas Tribou regarding a $50,000 check somehow suggests that the

   government was not candid with the Court about a conversation with Mr. Tribou on May 16, 2013.

   (D.E. 529, hereafter “Supplemental Memorandum”). The government flatly rejects any suggestion

   or argument that the call with Mr. Tribou did not take place as represented to the Court during the

   trial. Moreover, and as set forth below, the government respectfully submits that the Defendant’s

   requested relief in his Supplemental Memorandum should be denied because the filing is time-

   barred, and, in any event, nothing the Defendant raises constitutes evidence that is either “material”

   or “newly discovered” under the governing legal standard.




                                                     1
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 2 of 12



                                             BACKGROUND

          Thomas Tribou was a consultant who worked with Signalife. Stein, 846 F.3d at 1141. Mr.

   Tribou was deposed by the Securities and Exchange Commission (“SEC”) in January 2010, and

   he was interviewed by the government in August 2012. The transcript of Mr. Tribou’s deposition

   and the memorandum memorializing his interview were provided to the Defendant in discovery

   well in advance of trial.

          On May 20, 2013, a jury unanimously convicted the Defendant on all counts (D.E. 212).

   On December 4, 2014, this Court sentenced the Defendant to 204 months of imprisonment (D.E.

   407). The Defendant noticed his appeal on December 17, 2014 (D.E. 416). In January 2017, the

   Court of Appeals affirmed the Defendant’s convictions and remanded the case for the limited

   purpose of recalculating loss and resentencing. Stein, 846 F.3d at 1140.

          On appeal, the Defendant raised several arguments regarding Mr. Tribou. As recounted in

   the Eleventh Circuit’s opinion, on May 16, 2013, near the end of trial, the Defendant sought to

   admit into evidence a check displaying Mr. Tribou’s name, along with that of his wife, and an

   email “from Signalife’s CEO’s administrative assistant, Ms. Jones, to Signalife’s certified public

   accountant, Norma Provencio, which was forwarded to Signalife’s corporate counsel, Mr.

   Woodbury. The subject line of the email said, ‘[Fwd: Emailing: Tribou Payment],’ and in the

   body, Ms. Provencio noted, ‘Attached is the $50K deposit on the 9-14 purchase order.’” Id. at

   1148. The check that accompanied the exhibit the Defendant sought to admit “displayed the

   [Cardiac Hospital Management (“CHM”)] purchase order number on the memo line, along with

   the words ‘Tribou & Assoc.’” Id. The Eleventh Circuit explained:

          Mr. Stein sought to use this exhibit to support the inference that the September 14,
          2007 CHM purchase order, which called for a $50,000 deposit, was legitimate. The
          government objected on the ground that the email's contents were hearsay. The
          district court sustained the objection and noted that Mr. Stein failed to authenticate

                                                    2
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 3 of 12



          the document. The court ultimately brokered the following stipulation: “On or
          about September 27th, 2007, an individual named Thomas Tribou paid Signalife
          $50,000 for goods he expected to receive.” Mr. Stein, through counsel, accepted
          this stipulation, which was presented to the jury.

   Id. Neither the Defendant nor the government called Mr. Tribou as a witness.

          On appeal, the Defendant asserted that the government had misrepresented facts

   surrounding the $50,000 check to this Court and the jury.    The    Eleventh    Circuit   explicitly

   rejected the Defendant’s arguments regarding Mr. Tribou, the $50,000 check, and the

   government’s statements related thereto, concluding:

          First, the government represented that, based on interviews Mr. Tribou previously
          had given to SEC investigators, if Mr. Tribou were called to testify he would say
          that although he paid $50,000 to Signalife, he never received any product and was
          not a Signalife reseller. Mr. Stein argues that this representation is inconsistent
          with statements Mr. Tribou made to SEC investigators admitting that he signed the
          CHM purchase order.

          We reject this argument. Mr. Tribou’s statement to SEC investigators that he
          signed the CHM purchase order in no way indicates he would have testified that he
          actually received Signalife products. Nor does it show that Mr. Tribou considered
          himself a Signalife reseller. And, in any case, Mr. Tribou’s SEC testimony was, as
          Mr. Stein himself characterized it, “extremely inconsistent.” On this record, we
          cannot conclude that the prosecutor spoke falsely when he told the district court
          how he believed Mr. Tribou would testify at trial.

          Second, on the district court’s request, the government privately telephoned Mr.
          Tribou and then relayed to the court and the defense the contents of that telephone
          call, which, according to Mr. Stein, included a false statement. The government
          told the court that during the call Mr. Tribou never denied giving Signalife a
          $50,000 check, but he said that he was unfamiliar with Tribou & Associates and
          that he doubted he wrote the purchase order number on the check. Mr. Tribou
          previously had told an SEC investigator that Tribou & Associates was his name
          “for consulting and everything on [his] personal taxes.” Thus, Mr. Stein argues,
          the government knew or should have known that Mr. Tribou was lying about his
          unfamiliarity with Tribou & Associates and yet relayed the lie to the court
          nonetheless.

          We reject Mr. Stein’s argument about the second representation for two reasons.
          First, Mr. Stein contends not that the prosecutor misrepresented what Mr. Tribou
          told him on the call, but rather that the prosecutor should have flagged for the court
          the inconsistency between what Mr. Tribou said on the call and what he had said to
          SEC investigators in the past. But it is well-established that “a prior statement that
                                                    3
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 4 of 12



          is merely inconsistent with a government witness’s testimony is insufficient to
          establish prosecutorial misconduct.”

          Second, even if false, the government’s representation regarding Mr. Tribou was
          immaterial. A material misrepresentation occurs when there is any reasonable
          likelihood that the false testimony could have affected the judgment. Mr. Stein
          argues that the representation influenced the court’s decision to sustain the
          government’s objection on hearsay grounds to the admission of the check and the
          email. We disagree. The court sustained the objection before the government made
          the representations about Mr. Tribou. Moreover, the court based its ruling on
          hearsay grounds and Mr. Stein’s failure to authenticate the documents rather than
          anything Mr. Tribou might say if called to testify. Mr. Stein fails to explain how
          the government’s statements had any bearing on this evidentiary decision, which
          Mr. Stein expressly does not challenge on appeal.

          The third allegedly false statement occurred during the government’s closing
          argument. The prosecutor told the jury that the CHM purchase order was “all made
          up” and “fake,” statements Mr. Stein argues constituted misrepresentations because
          Mr. Tribou signed the purchase order and paid Signalife $50,000. But the
          prosecutor’s statement and these facts are not mutually exclusive. The fact that Mr.
          Stein obtained Mr. Tribou’s signature and check does not rule out the possibility
          that he also fabricated the purchase order. Indeed, the government made this
          argument in its rebuttal, stating that regardless of any signatures Mr. Stein obtained,
          the purchase orders were fake. Moreover, the record contained overwhelming
          evidence that Mr. Stein fabricated supporting documentation for the purchase
          orders and used arbitrary names for companies and individuals supposedly
          purchasing Signalife products. On this record, we cannot conclude that the
          government violated Giglio with its characterization of evidence about the CHM
          purchase order.

          In sum, Mr. Tribou’s previous inconsistent statements to SEC investigators and the
          ambiguity regarding his role in signing the CHM purchase order and paying
          $50,000 to Signalife provide an insufficient basis for us to conclude that the
          government knowingly relied on materially false testimony.

   Id. at 1148-50 (footnotes and internal citations omitted).

          On May 20, 2016, while his appeal was pending, the Defendant filed a “Motion to Dismiss

   the Indictment or, Alternatively, Motion for New Trial and, Motion for Disclosure of Grand Jury

   Materials” (D.E. 479), in which he asserted a series of unsupported claims and allegations, many

   of which had already been rejected by this Court during trial and post-trial proceedings. Among

   his various arguments, the Defendant claimed that the government had changed its position on


                                                    4
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 5 of 12



   appeal regarding whether the CHM purchase order was fraudulent. This “change in position,” the

   Defendant asserted, constituted “new evidence” for purposes of Rule 33. On October 5, 2016, the

   Defendant filed a “Supplement” to his earlier Motion (D.E. 490), in which he claimed to have

   additional “new evidence” that the $50,000 check had been in the government’s possession and

   that this somehow undercut the government’s statements that the CHM purchase order was

   fraudulent. The government timely opposed both the Motion and the Supplement. The Defendant

   has now filed yet another “Supplemental Memorandum” (D.E. 529), again claiming that he has

   discovered “new evidence” relating to Mr. Tribou. Attached to this “Supplemental Memorandum”

   is an affidavit, purportedly signed by Mr. Tribou (D.E. 529-1).

                                              ARGUMENT

           The Defendant’s “Supplemental Memorandum” largely reiterates his earlier arguments

   regarding Mr. Tribou, which were explicitly rejected by the Court of Appeals, Stein, 846 F.3d at

   1148-50, and which the government opposed in filings at D.E. 483, 491. As set forth below,

   nothing about the declaration filed with the Defendant’s “Supplemental Memorandum” alters the

   analysis by the Eleventh Circuit, impacts the admissibility of the $50,000 check, or is otherwise

   material to issues before this Court. As this Court and the Eleventh Circuit have concluded, the

   Defendant’s multiple attempts to re-litigate the same issues in his “Supplemental Memorandum”

   are without merit.

      I.      Legal Standard

           Because “motions for a new trial are highly disfavored,” the Eleventh Circuit has instructed

   courts to “use ‘great caution’ in granting a new trial motion based on newly discovered evidence.”

   United States v. Jernigan, 341 F.3d 1273, 1287 (11th Cir. 2003). To succeed on a motion for new

   trial based on newly discovered evidence under Rule 33, the Defendant must establish that:



                                                    5
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 6 of 12



            (1) the evidence was discovered after trial, (2) the failure of the defendant to
            discover the evidence was not due to a lack of due diligence, (3) the evidence is not
            merely cumulative or impeaching, (4) the evidence is material to issues before the
            court, and (5) the evidence is such that a new trial would probably produce a
            different result.

   Id. (internal quotation marks omitted). Put differently, a defendant must show that newly

   discovered evidence would “be likely to produce an acquittal on retrial.” United States v. Scrushy,

   721 F.3d 1288, 1308 (11th Cir. 2013). “Failure to meet any one of these elements will defeat a

   motion for a new trial.” United States v. Starrett, 55 F.3d 1525, 1554 (11th Cir. 1995).

      II.      The Defendant’s instant filing is improper and time-barred.

            As an initial matter, the Defendant’s “Supplemental Memorandum,” which does nothing

   more than re-hash arguments already rejected by this Court and the Eleventh Circuit, is time-barred

   and thus improper under Rule 33. Rule 33 provides, in relevant part, that “[a]ny motion for a new

   trial grounded on newly discovered evidence must be filed within 3 years after the verdict or

   finding of guilty.” Fed. R. Crim. P. 33(b). The Defendant filed his “Supplemental Memorandum”

   on May 16, 2018, nearly five years after the jury’s verdict (D.E. 212), and nearly two years after

   the three-year time limit under Rule 33(b) had expired. As the Eleventh Circuit has held, “a

   defendant may not add new arguments in support of a motion for new trial by including them in

   an amendment filed after the time under Rule 33 has expired.” United States v. Angulo, 132 F.

   App’x 240, 241 (11th Cir. 2005) (quoting United States v. Custodio, 141 F.3d 965 (10th Cir.

   1998)); see also United States v. Bagcho, 227 F. Supp. 3d 28, 32 (D.D.C. 2017) (“[D]efendants

   may not avoid the time limits in Rule 33 by presenting new evidence in the guise of an amendment

   or a motion for reconsideration.”); United States v. Holt, 170 F.3d 698, 703 (7th Cir. 1999)

   (rejecting defendant’s efforts to amend or supplement Rule 33 motion because to do so would

   “defeat the express language of the rule, and would create a back door through which defendants

   could raise additional grounds for a new trial long after” the time limits in Rule 33 had expired).

                                                     6
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 7 of 12



   Thus, the Defendant’s “Supplemental Memorandum” is untimely and impermissible, and should

   not be considered by this Court.

      III.      The Eleventh Circuit has already held that neither the government’s statements
                about Mr. Tribou during the trial nor the circumstances surrounding Mr.
                Tribou’s alleged purchase order were material.

             Even if not time-barred, nothing in the Defendant’s recent “Supplemental Memorandum”

   or the declaration constitutes newly discovered evidence that is “material” under Rule 33. Again,

   as a preliminary matter the government stands by its representations to this Court regarding contact

   with Mr. Tribou on May 16, 2013. And to the extent the declaration raises inconsistencies in Mr.

   Tribou’s recollection and version of events relating to the CHM purchase order or his conversation

   with prosecutors on May 16, 2013, none of this evidence is “material” such that “a new trial would

   probably produce a different result,” nor is it “newly discovered” under Rule 33.

             First, nothing in the Defendant’s “Supplemental Memorandum” is material to the question

   of the admissibility of the Tribou check or the accompanying email. The Eleventh Circuit

   explicitly rejected the Defendant’s argument on this point, concluding that the government’s

   statements regarding Mr. Stein’s prior testimony did not amount to a false statement, and, in any

   event, “even if false, the government’s representation regarding Mr. Tribou was immaterial”

   because this Court based its admissibility ruling “on hearsay grounds and Mr. Stein’s failure to

   authenticate the documents rather than anything Mr. Tribou might say if called to testify. Stein,

   846 F.3d at 1149. Nothing about Mr. Tribou’s declaration changes this analysis or, in any way,

   impacts the admissibility of the $50,000 check.

             More broadly, despite the Defendant’s continued assertions that the CHM purchase order

   was “legitimate,” the Defendant has not identified any evidence to support that proposition.

   Simply put, as the Eleventh Circuit squarely held, whether Tribou (or his wife or any business

   affiliate) wrote a check in the amount of $50,000 to Signalife has no bearing on whether the
                                                     7
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 8 of 12



   purchase order for $1.98 million in Signalife products was, in fact, valid. Nothing in the record

   (or even in the Defendant’s many motions on this topic) suggests that this purchase order was real.

   Thus, even if Tribou or an affiliate wrote a check with the intent to purchase products, that merely

   establishes that they expected to receive goods, not that the purchase order was legitimate. As the

   Eleventh Circuit explained, “the prosecutor’s statement” regarding the falsity of the CHM

   purchase order and the fact that Mr. Tribou “signed the purchase order and paid Signalife $50,000”

   were not “mutually exclusive.” Id. at 1149. Indeed, “[t]he fact that Mr. Stein obtained Mr.

   Tribou’s signature and check does not rule out the possibility that he also fabricated the purchase

   order. Indeed, the government made this argument in its rebuttal, stating that regardless of any

   signatures Mr. Stein obtained, the purchase orders were fake.” Id. at 1149-50.

          Of course, the Defendant’s argument ignores that substantial evidence supported the jury’s

   conclusion that the Defendant engaged in a massive scheme to defraud investors, including the

   Defendant’s efforts to bolster the fraudulent CHM purchase order with additional fraudulent

   documents. As the Eleventh Circuit observed, “[t]he record contained overwhelming evidence

   that Mr. Stein fabricated supporting documentation for the purchase orders and used arbitrary

   names for companies and individuals supposedly purchasing Signalife products.” Id. at 1150. For

   example, as Martin Carter testified, the Defendant directed Carter to create and transmit fake

   documents to Signalife purporting to be from CHM. See Trial Tr. VI (D.E. 243) at 41-43, 111-15.

   The Defendant has wholly failed to establish how Mr. Tribou’s declaration, even if taken as true,

   has any impact on the Eleventh Circuit’s analysis which concluded that the $50,000 check was not

   material. Because the Defendant has failed to meet his burden under Rule 33, his motion must be

   denied. See Starrett, 55 F.3d at 1554 (denying Rule 33 motion where “ample evidence” aside from

   alleged “newly discovered” impeachment evidence supported defendant’s convictions).



                                                    8
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 9 of 12



      IV.      The Defendant has not identified any “newly discovered evidence” or exercised
               reasonable diligence.

            In addition, the Defendant has not offered any “newly discovered” evidence that would

   entitle him to relief under Rule 33, or explained how his failure to “discover” this “evidence” for

   five years was the result of anything other than his lack of diligence. See Jernigan, 341 F.3d at

   1287. As numerous Circuits have explained, “where a party fails to call a witness who was

   available during trial, the testimony of that witness cannot be considered newly discovered

   evidence.” See, e.g., United States v. Beasley, 582 F.2d 337, 339 (5th Cir. 1978); see also United

   States v. Taylor, 702 F. App’x 836, 837 (11th Cir. 2017) (“[A] defendant cannot demonstrate due

   diligence if he was aware both of the existence of the person having newly discovered evidence

   and that the person had some possible connection to the investigation or commission of the crimes

   charged, yet failed to interview that person.”).

            Here, Mr. Tribou and his prior testimony was well-known to the Defendant months, if not

   years, before trial.    As the Defendant has acknowledged, he received a memorandum

   memorializing an interview and Mr. Tribou’s deposition testimony before the SEC in discovery.

   Mr. Tribou was included on the government’s witness list, which was filed with the Court before

   trial (D.E. 184, 179). On the last day of trial, after extended discussions, the parties agreed to a

   stipulation that “On or about September 27th, 2007, an individual named Thomas Tribou paid

   Signalife $50,000 for goods he expected to receive.” See Trial Tr. IX (D.E. 247) at 71. Thereafter,

   the Defendant elected not to call any additional witnesses to testify about the $50,000 payment,

   including Mr. Tribou.

            In short, Mr. Tribou’s statements are not “newly discovered evidence” under the law of

   this Circuit. Notably, the Defendant fails to explain how a declaration of an individual known to

   the Defendant before trial was “newly discovered” nearly five years after the jury’s verdict, or how


                                                      9
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 10 of 12



   the five-year delay was due to anything other than the Defendant’s lack of diligence. The

   Defendant received an interview memorandum and Mr. Tribou’s deposition testimony in

   September 2012, and was familiar enough with Mr. Tribou’s prior statements to describe them to

   the Court as “extremely inconsistent.” Id. at 55. Since his conviction in 2013, the Defendant has

   filed numerous motions relating to the $50,000 payment and Mr. Tribou, yet has failed to make

   any showing as to why, with diligence, he could not have discovered this “evidence” in the five

   years since trial. Thus, the Defendant’s lack of diligence also forecloses his requested relief.

                                              CONCLUSION

          The Defendant elected not to call Mr. Tribou at trial — likely because any testimony from

   Mr. Tribou would not have supported the Defendant’s claim that the CHM purchase order was

   legitimate. Since trial, the Defendant has repeatedly mischaracterized Mr. Tribou’s role and now

   seeks to offer what can only be described as misleading and one-sided “testimony” through a

   “declaration” allegedly obtained from Mr. Tribou five years after trial. The Defendant has

   repeatedly failed to demonstrate that any of his newly discovered “evidence” or “testimony” is

   remotely relevant, much less that it would result in his acquittal. Finally, because the issues in the

   Defendant’s “Supplemental Memorandum” have already been resolved, there is no need for an

   evidentiary hearing. See United States v. Muzio, 663 F. App’x 845, 849 (11th Cir. 2016) (quoting

   Scrushy, 721 F.3d at 1305 n.30) (“An evidentiary hearing on a Rule 33 motion is not required

   where ‘the record contained all the evidence needed to dispose of each of the grounds asserted as

   a basis for a new trial.’”). And, as the government has previously explained, D.E. 483, 491, the

   Defendant has not identified any basis for the alternative relief he seeks, including disclosure of




                                                    10
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 11 of 12



   grand jury materials or dismissal of the indictment five years after his conviction. For all of these

   reasons, this Court should deny the Defendant’s “Supplemental Memorandum.”


                                                 Respectfully submitted,

                                                 SANDRA L. MOSER
                                                 Acting Chief, Fraud Section

                                         BY:     _________/s/__________
                                                 MICHELLE PASCUCCI

                                                 Henry Van Dyck
                                                 Assistant Chief

                                                 Caitlin Cottingham
                                                 Michelle Pascucci
                                                 Trial Attorneys

                                                 Criminal Division, Fraud Section
                                                 United States Department of Justice
                                                 1400 New York Avenue, NW
                                                 Washington, DC 20005
                                                 Tel: (202) 307-2208 (Pascucci)
                                                 Fax: (202) 514-0152
                                                 Michelle.Pascucci@usdoj.gov




                                                    11
Case 9:11-cr-80205-KAM Document 530 Entered on FLSD Docket 05/30/2018 Page 12 of 12



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 30, 2018, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF, which will send notification to counsel of record.




                                               Respectfully submitted,

                                               SANDRA L. MOSER
                                               Acting Chief, Fraud Section

                                        BY:    _________/s/__________
                                               MICHELLE PASCUCCI
                                               Trial Attorney
                                               Criminal Division, Fraud Section
                                               United States Department of Justice




                                                 12
